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                        IN THE UNITED STATES DISTRICT COURT

                  FOR THE WESTERN DISTRICT OF TENNESSEE AT MEMPHIS

_____________________________________________________________________________

SHARRYL SMITH,

         Plaintiff,

Vs.                                                  No._________________

SOUTHWEST TENNESSEE COMMUNITY COLLEGE,               Division____________

         Defendant.                                  A JURY IS REQUESTED

_____________________________________________________________________________

                                        COMPLAINT

_____________________________________________________________________________

                                            I.

                               JURISDICTION AND VENUE

      1. This Court has subject matter jurisdiction pursuant to:

         (a)   28 U.S.C. 1331 because the case arises under the Constitution and

               laws of the United States;

         (b)   28 U.S.C. 1343, because this action seeks redress and damages for

               violation of 42 U.S.C. 1983 and 1985 and, in particular, the due

               process and equal protection provisions of the United State

               Constitution, including the rights protected by the Fifth and

               Fourteenth Amendments thereof; and,

         (c)   Claims also are stated under the Tennessee Hunan Rights Act

               against the Defendant.

         (d)   The supplemental jurisdiction of this court is invoked pursuant

               to 28 U.S.C. § 1367 over the State Law claims which are so

               related to the federal claims in the action that they are from

               part of the same case or controversy under Article III of the

               Constitution of the United States of America.



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2. Venue is appropriate in this judicial district under 28 U.S.C. 1391(b),

      because Defendant, Southwest Tennessee Community College, is located in

      this District and the events giving rise to this Complaint occurred

      here.

                                             II.

                                      THE PARTIES

3. Plaintiff, Sharryl Smith (hereinafter, “Smith”) is a citizen of the

      State of Tennessee, residing in Memphis.

4. Defendant, Southwest Tennessee Community College (hereinafter,

      “Southwest”) is an College in the State of Tennessee operating under

      the Tennessee Board of Regents.

                                            III.

                                            FACTS

5.            Smith was hired by Southwest by on November 3, 2008, in the job

              category of Police Officer I.

6.            During the time of the alleged events in March and April, 2010,

              Smith worked under the immediate supervision of Police

              Supervisor, Michael Harris (hereinafter, “Harris”).

7.            On March 29, 2010, Smith approached Harris to ask him about a

              jobs that she had heard would be eliminated.

8.            Harris responded to Smith that the only thing he needed was to

              hear her ask him to engage in a specific sex act, accompanied by

              Harris making hip gestures of a suggestive nature.

9.            Smith began efforts to contact her Union representative so that

              corrective measures could be taken against Harris.

10.           In an interoffice memorandum dated June 17, 2010, Southwest

              stated that Smith first made them aware of her complaint in an

              email to Linda Stanback, Assistant Director, on April 2, 2010.



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11.     On March 31, 2010, Harris, for the first time, issued Smith a

        letter allegeing that she was in violation of College Policy on

        March 29, 2010 when the alleged harassment took place.

12.     Harris offered no supporting witness for his allegation that

        Smith violated the Code of Conduct, nor did he allege that there

        had ever been any previous incidents of insubordination prior to

        this letter.

13.     On April 19, 2010, James H. Bolden, Director of Police/Public

        Safty issued a memorandum to Smith stating that his investigation

        determined that the complaint of Smith could not be sustained.

14.     On April 21, 2010, Smith filed a complaint alleging sexual

        harassment and retailiation with the Office of Human Resources.

15.     Immediately after the sexual suggestions of Harris, Smith

        confided to several of her co-workers about the harassment by

        Harris, which co-workers observed her emotional distress over the

        incident.

16.     As a result of the unlawful acts of Harris and the failure to act

        by Southwest, Smith had endured a period of substantial

        psychological distress and embarrassment.

17.     On June 10, 2010, Smith resigned her position at Southwest after

        learning that corrective action would not be taken such that she

        would not continue to encounter Harris in the workplace, which

        resignation has the effect of constructive termination because of

        the failure of Southwest to protect the rights of Smith and

        provide a workplace free from harassment.

18.     Because of the constructive termination, Smith lost all future

        pay, together with reasonably expected pay raises and promotions

        because Southwest failed to provide a workplace free from

        harassment.

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19.     Investigation of this claim revealed evidence and testimony that

        Harris had on at least one other occasion made comments and

        requests of a sexual nature to another employee.

20.     Harris took immediate detrimental action against Smith after his

        unlawful conduct in an attempt to silence her and retaliate

        against her.

21.     Smith filed a sexual harassment complaint with the Equal

        Employment Opportunity Commission, which claim was denied and

        “right to sue” letter issued on January 25, 2011.

                                          IV.

         COUNT 1:   DEPRIVATION OF CONSTITUIONAL RIGHTS AND PRIVILIEGES (42

                                      U.S.C. 1983)

22.     Smith incorporates by reference paragraphs 1-21 as if set forth

        specifically herein.

23.     Smith is entitled to equal protection of the laws under the

        Fourteenth Amendment of the United States Constitution and due

        process of law under the Fifth and Fourteenth Amendments of the

        United States Constitution.

24.     Harris as an officer and employee of Southwest acted under color

        of law in discriminating against Smith because of her gender by

        sexually harassing and assaulting her on March 29, 2010, and this

        deprived Smith of her right to equal protection under the law.

25.     Further, even after the complaint by Smith, Southwest continued

        to operate in a manner that deprived her of her Constitutional

        right to a workplace free from unwanted and harassing conduct.

26.     Harris took immediate negative job actions against Smith after

        his unlawful conduct in an attempt to retaliate against Smith and

        silence her.



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27.         Smith, as a citizen of the United States and the state of

            Tennessee was entitled to due process rights to protect her

            rights and interests guaranteed by the U.S. Constitution.

                                            V.

       COUNT II:   DEPRIVATION OF RIGHTS UNDER THE TENNESSEE HUMAN RIGHTS ACT

28.         Smith incorporates by reference paragraphs 1-27 as if set forth

            specifically herein.

29.         The Tennessee Human Rights Act guarantees Smith as a citizen of

            Tennesseee the right to be free from unwanted sexual conduct in

            the workplace and to work in an atmosphere free from

            discriminatory treatment.

30.         The Tennessee Human Rights Act guarantees Smith to be free from

            retaliation for attempting to enforce her lawful rights.



      WHEREFORE PREMISES CONSIDERE, Plaintiff requests this Honorable Court:

1.          Issue notice and service upon Defendant causing them to appear

            and give answer as to why the requested relief should not be

            granted.

2.          That Smith be awarded compensatory damages for matters including

            lost wages, emotional suffering and other compensable matters in

            an amount of not less than $100,000.00;

3.          That Smith be awarded compensation for lost future wages,

            including the loss of reasonably anticipated promotion and pay

            raises in an amount of not less than $1,000,000.00.

4.          That Smith be awarded punitive damages because of the failure of

            Defendant to provide a lawful workplace free from harassment even

            after being given notice and to prevent retaliatory conduct

            against those who seek to enforce their lawful rights, in the

            amount of $3,000,000.00.

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5.       That Smith be awarded her reasonable attorneys fees and costs of

         this action;

6.       That a jury be seated to hear this matter.

7.       For other such general and further relief as the cause of justice

         may require.



                                 Respectfully submitted:



                                 /s/ Mark M. Wright_____________

                                 Mark M. Wright (BPR 21772)

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                          AFFIDAVIT OF PLAINTIFF

I, Sharryl Smith, do herby affirm that the fact and allegations contained

in this complaint are true to the best of my knowledge.



                                 /s/Sharryl Smith




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